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UNITED STATES DIS'I`RICT COURT
MIDDLE DIS'I`RICT OF FLORIDA

ORLANDO DIVISION
LATOYA HAZLE,
Plaintiff, ‘ __, 1 " "
@_ /e/-C U- /s esa 0,€¢15/ -,<RS
v. CASE NO. _.

"`.

MIDLAND CREDIT MANAGEMENT, [NC.,

Defendant.
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PLAINTIFF’S COMPLAINT
COMES NOW Plaintif`f, I.ATOYA HAZLE (“Plaintiff"’), by and through her attorneys,
KROHN & MOSS, LTD., and for her Complaint against Dei`endant, MIDLAND CREDIT
MANAGEMENT, INC. (“Defendant”), alleges and affirmatively states as follows:
lNTRODUCTION
1. Count l of Plaintif`f`s Complaint is based on the Fair Debt Collection Practices
Act (“FDCPA”), 15 U.S.C. § 1692 et seq.
2. Count II of Plaintiff`s Compiaint is based on the Florida Consumer Collection
Practices Act (“FCCPA”), Fla. Stat. § 559.55 er seq.
3. Count III of Plaintiff"s Comp|aint is based on the Telephone Consumer
Protection Act ("TCPA”), 47 U.S.C. § 227 et seq..
JURlSDICTlON AND VENUE
4. Jurisdiction of this court arises pursuant to 28 U.S.C. § 1331 and 15 U.S.C. §
1692k(d), which states that such actions may be brought and heard before “any appropriate

United States district court without regard to the amount in controversy.

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5. Defendant conducts business in the State of Florida thereby establishing personal
jurisdiction

6. Venue is proper pursuant to 28 U.S.C. § 1391 (b)(2).

PARTIES

7. Plaintiff is a natural person who resides in Orlando, Orange County, Florida.

8. Plaintif`f is a consumer as that term is defined by 15 U.S.C. § 1692a(3) and Fla.
Stat. § 559.55(2) and, according to Defendant, allegedly owes a debt as that term is defined by
15 U.S.C. § 1692a(5) and Fla. Stat. § 559.55(1).

9. Defendant is a business entity with an office located in San Diego, California.

10. Defendant sought to collect a debt from Plaintift`.

11. Defendant is a "debt collector" as that term is defined by 15 U.S.C. § 16923(6)
and Fla. Stat. § 559.55(6) that uses instrumentalities of interstate commerce or the mails in any
business the principal purpose of which is the collection of any debts, or who regularly collects
or attempts to collect, directly or indirectly, debts owed or due or asserted to be owed or due
another.

12. Defendant acted through its agents, employees, officers members, directors,
heirs, successors, assigns, principals, trustees, sureties, subrogees, representatives, and insurers.

FACTUAL ALLEGATIONS

13. Prior to the filing of this action at a date known to Defendant, and account was
placed with Defendant to collect funds which were alleged to be owed and past due.

14. During 2013, Defendant began placing telephone calls (“collection calls") to
telephone number 312-245-86xx, Plaintist cellular telephone, in an attempt to collect a debt the

alleged debt.

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15. The alleged debt arises from transactions which were for personal, family and/or
household purposes.

16. Plaintiff never gave Defendant prior express consent to call her cell phone.

17. Defendant called Plaintiff at all hours of the day including after 9:00 p.m. and
before 8:00 a.m.

18. Defendant called Plaintiff up to four (4) times in a single day.

19. Upon information and belief based on, inter alia, the frequency, number, and
nature of the calls, all of Defendant’s telephone calls to Plaintiffs were placed using an
automatic telephone dialing system or other equipment capable of storing and/or producing
telephone numbers (“auto dialer").

20. Defendant has been assignment many telephone numbers from its telephone
service providers including, but not limited to, 800-265-8825, 877-237-0512, and 877-411-5551,
which it used to call Plaintiff.

21. In or around November 2013, Plaintiff spoke to one of Defendant’s employees,
and asked Defendant what debt it was trying to collect, but Defendant refused to provide
Plaintiff with that information. Plaintiff instructed Defendant to stop calling her.

22. Plaintiff revoked any consent, actual or implied, for Defendant to call her cell
phone.

23. Defendant continued to use an auto dialer to call Plaintit`f's cell phone after
November 2013.

24. Defendant knowingly, voluntarily and willfully used an auto dialer to call
Plaintiff s cell phone.

25. Defendant intended to use an auto dialer to call Plaintiff"s cell phone.

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26. Plaintiff spoke with Defendant afterwards and again instructed Defendant to stop
calling her.

27. Defendant continued to use an auto dialer to call Plaintih"s cell phone despite her
repeated instructions to stop.

28. Between December 2013 and May 27, 2014, Defendant has used and auto dialer
to call Plaintiff"s cell phone at least seventy-seven (77) times.

29. Plaintiff is annoyed and feels harassed by Defendant’s repeated calls to her
cellular telephone after she instructed Defendant to stop.

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DEFENDANT VIOLATED THE FAIR DEBT COLLECTION PRACTICES ACT
(FDCPA), 15 U.S.C. § 1692 et seg.

 

30. Defendant violated the FDCPA based on the following:

a) Defendant violated § 1692c(a)(1) of the FDCPA by calling Plaintiff at a
time that is known, or should be known, to be inconvenient.

b) Defendant violated § 1692d of the FDCPA by engaging in conduct the
natural consequence of which is to annoy Plaintiff.

c) Defendant violated § 1692d(5) of the FDCPA by causing Plaintiff's
cellular telephone to ring repeatedly and/or continuously with intent to
annoy, abuse, or harass Plaintiff.

WHEREFORE. Plaintiff respectfully requests judgment be entered against Defendant for
the following:

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_)1. Statutory damages of $1000.00 pursuant to the Fair Debt Collection Practices

Act, 15 U.S.C. 1692k,

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32. Costs and reasonable attorneys’ fees pursuant to the Fair Debt Collection
Practices Act, 15 U.S.C. 1692k,
33. Any other relief that this Honorable Court deems appropriate.

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DEFENDANT VIOLATED THE FLORIDA CONSUMER COLLECTION PRACTICES

ACT (FCCPA}, Fla. Stat. § 559.55 et seg.

34. Plaintiff re-alleges and incorporates the foregoing paragraphs herein.
35. Defendant violated the FCCPA based on the following:
a) Defendant violated § 559.72(7) of the FCCPA by engaging in conduct
which can reasonably be expected to abuse or harass Plaintiff.
WHEREFORE, Plaintiff respectfully requests judgment be entered against Defendant for
the following:
36. Statutory damages pursuant to the Florida Consumer Collection Practices Act,
Fla. Stat. § 559.77(2),
37. Costs and reasonable attomeys’ fees pursuant to the Florida Consumer Collection
Practices Act, Fla. Stat. § 559.77(2),
38. Any other relief that this Honorable Court deems appropriate

COUNT III
QEFENDANT VIOLATED THE TELEPHONE CONSUMER PROTECTION ACT.

(TCPA}, 47 U.S.C. § 227 et seg.

39. Plaintiff re-alleges and incorporates the foregoing paragraphs herein.
40. Defendant’s actions alleged supra constitute numerous negligent violations of the
TCPA, entitling Plaintiff to an award of $500.00 in statutory damages for each and every
violation pursuant to 47 U.S.C. § 227(b)(3)(B).

41. Defendant’s actions alleged supra constitute numerous and multiple knowing

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and/or willful violates of the TCPA, entitling Plaintiff to an award of $1500.00 in statutory
damages for each and every violation pursuant to 47 U.S.C. § 227(b)(3)(B) and 47 U.S.C. §
227(b)(3)(C).

WHEREFORE, Plaintiff respectfully requests judgment be entered against Defendant for
the following:

42. Statutory damages of $500.00 for each and every negligent violation of the
TCPA pursuant to 47 U.S.C. § (b)(3)(B),

43. Statutory damages of $1500.00 for each and every knowing and/or willful
violation of the TCPA pursuant to 47 U.S.C. § (b)(3)(b) and 47 U.S.C. § (b)(3)(C),

44. A11 court costs, witness fees and other fees incurred

45. Any other relief that this Honorable Court deems appropriate

PECTFULLY SUBMI'I`TED,

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